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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 TALIA N. HARRISON,

                Plaintiff,

        vs.                                              Civil Action No. 4:21-cv-607-ALM

 TYLER TECHNOLOGIES, INC.,

                Defendant.


                              REPLY IN SUPPORT OF PLAINTIFF’S
                       MOTION FOR AWARD OF ATTORNEY’S FEES AND COSTS

Plaintiff Talia N. Harrison files this Reply in support of her Motion for an order awarding

attorney’s fees and costs of litigation pursuant to 29 U.S.C. § 216(c), showing the Court as follows:

1.     Introduction

       Plaintiff had a single overtime claim in this case. Defendants raised numerous complete

and partial defenses and succeeded on one partial defense at summary judgment, relating to one of

the two positions that Plaintiff worked in. Now, Defendant argues without proper factual or legal

support that Plaintiff’s award of attorney’s fees should be reduced by nearly two thirds.

       More than a year ago, Plaintiff offered to settle this case for $20,000 plus fees and

costs at mediation. (See Ex. 1 (correspondence from opposing counsel and mediator’s proposal

from Will Pryor)). This occurred before significant discovery, before motion practice, and long

before summary judgment. Defendant rejected that offer. After summary judgment, which

Defendant says was a disaster for Plaintiff, Plaintiff obtained a settlement for $23,000 plus fees

and costs—a favorable outcome and not the supposed “lack of success” Defendant claims.




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        Moreover, Defendant argues Plaintiff’s counsel engaged in improper billing. As shown

below, Plaintiff’s request for fees and costs is entirely reasonable and should be awarded in full.

2.      Plaintiff Was Not Partially Successful

        Here, Defendant received a partially successful summary judgment ruling. Respectfully,

Plaintiff believes that the Court erred in holding that she fell within the scope of the FLSA’s

administrative exemption and planned to appeal that ruling after trial. However, as Defendant was

ultimately willing to settle her overtime claim at an amount that Plaintiff considered reasonable—

providing value to Plaintiff for the entirety of her overtime claim—Plaintiff was willing to forego

that appeal right and end the litigation sooner rather than later.

        It is entirely speculative for Defendant to claim only partial success by Plaintiff when no

final judgment was rendered, and it is impossible to analyze how much she would have recovered

for both employment periods at issue. While most of the three-year statutory period related to the

Implementation Analyst position that the Court found to be exempt, Plaintiff testified that she

worked significantly more overtime during her time as a Project Manager. Dkt. 14-1 (Deposition

of Talia Harrison), pp. 176:1–7; 233:4 to 234:9. It is also possible that good faith or willfulness

might have affected the amount of recovery as to one or the other employment periods. In other

words, there is no objective way to accurately reconstruct how Plaintiff’s damages would have

differed with or without the Implementation Analyst hours included. And, of course, assuming that

Plaintiff’s appeal would have been unsuccessful.

        The best objective measure of Plaintiff’s success in this case is what she was willing to

settle the case for before summary judgment, and then what she ultimately obtained in settlement

after summary judgment. Such analysis does not support Defendant’s position that Plaintiff was

only partially successful in this case. In fact, it clearly shows the opposite.



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        In January 2022, early in this case, the Parties attended a mediation with Will Pryor. The

mediation ended unsuccessfully with a final demand from Ms. Harrison for $20,000 plus fees and

costs to be determined by the Court. Defendant’s final offer at mediation was $8,000 plus fees and

costs. After mediation, Defendant served a Rule 68 Offer of Judgment for $15,000 plus fees and

costs. It was not accepted. See Exhibit 1, passim.

        Defendant argues the Court’s partial ruling on summary judgment renders Plaintiff only

partially successful in this litigation and only partially entitled to recover her attorney’s fees. But

the actual numbers that the parties were willing to put on the table belie that facile analysis. A year

after the mediation—and after the Court issued its summary judgment Order—the Parties

ultimately settled for $23,000 with the Court to determine fees and costs. Thus, after summary

judgment, Plaintiff obtained a settlement substantially more favorable than what she had offered

to Defendant a year previously. That is no partial success. Objectively, it was a very favorable

result. And that result is the only objective measure available to evaluate Plaintiff’s success.

        While courts do not reduce attorney fees solely on the basis of the amount of damages

obtained, Gurule v. Land Guardian, Inc., 912 F.3d 252, 262–63 (5th Cir. 2018) (Ho, J., concurring)

(quotation omitted), that does not alter the fact that “[t]he most critical factor in determining an

attorney’s fee award is the ‘degree of success obtained.’ ” Id. (quoting Saizan v. Delta Concrete

Prods. Co., 448 F.3d 795, 799 (5th Cir. 2006)). As Judge Ho explained in that concurrence,

“[t]hese principles are not in conflict. . . . Attorney time must be spent in service of the best interests

of the client. So where attorney time exceeds client value to a significant degree, courts should be

suspicious. The overarching question that courts should ask in such circumstances is whether the

attorney expended the time in a good faith pursuit of value for the client — or was instead engaged

in churning attorney fees.” Id.



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       As shown in Matthew W. Herrington’s declaration, analysis of the facts and law in this

case was all of one piece. (See Ex. 2 (Herrington Decl.,), passim). While the Court found a

distinction at summary judgment between Plaintiff’s two job positions, counsel treated the entirety

of her employment as of a single piece. Plaintiff’s own characterization of her duties as being

essentially the same in both positions supported this strategy. Id. No significant time was spent on

issues solely relating to the Implementation Analyst position, and no significant time could have

been omitted if only the Project Manager position had been considered. Nothing about that

distinction affected the work that counsel performed on this case, other than a negligible amount

of additional time spent on a section of Plaintiff’s response brief at summary judgment.

3.     No Adjustment of the Lodestar is Warranted

       The Supreme Court has described the lodestar figure as “the guiding light of our fee-

shifting jurisprudence.” Gisbrecht v. Barnhart, 535 U.S. 789, 801 (2002) (quoting Burlington v.

Dague, 505 U.S. 557, 562 (1992)). It has stressed the reasonableness of the lodestar amount as a

“strong presumption” which may be overcome in “rare circumstances.” Perdue v. Kenny A. ex rel.

Winn, 559 U.S. 542, 554, 130 S. Ct. 1662 (2010); see also 5 Larson on Employment Discrimination

§ 97.09 (2023).

       Defendant misrepresents the proper use of the Johnson factors—which may sometimes be

used to justify a modification of the lodestar—when it states that:

       After calculating the lodestar—the number of hours reasonably spent on the case
       multiplied by an appropriate hourly rate in the community for such work—the
       court may decrease the lodestar amount based on the twelve Johnson factors.

Dkt. 47, pg. 4 (emphasis added). The Johnson factors may guide a district court in either

increasing or decreasing the lodestar. Saizan v. Delta Concrete Prods. Co., 448 F.3d 795, 800

(5th Cir. 2006) (“After calculating the lodestar, the court may decrease or enhance the amount

based on the relative weights of the twelve factors set forth in Johnson.”). Of course, some of the
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factors are already incorporated into the lodestar and may not be counted twice, and the others are

applicable only in very special circumstances given the presumed validity of the lodestar. Perdue

v. Kenny A., 559 U.S. 542, 552, 130 S. Ct. 1662 (2010); see also 10 Moore’s Federal Practice -

Civil § 23.124 (2023) (“Supreme Court has disfavored adjustments to the lodestar, showing a

marked preference for a single step inquiry”).

       Defendant argues that Plaintiff’s fee should be reduced from the lodestar because:

       •   The case was not novel or especially difficult;

       •   Plaintiff’s counsel was not precluded from accepting other cases;

       •   The lodestar would compensate Plaintiff’s counsel more than a traditional
           contingency arrangement; and

       •   The case was not undesirable.

Dkt. 47, pp. 6–12. It does so in only the most general and generic terms and identifies nothing that

could be called special circumstances.

       The issues of novelty and complexity are fully reflected in the number of billable hours

recorded by counsel and thus do not support modification of a fee based on the number of billable

hours multiplied by reasonable hourly rates. See Blum v. Stenson, 465 U.S. 886, 898-99 & n.16,

104 S. Ct. 1541, 1549 (1984); see also 5 Moore’s Federal Practice - Civil § 23.124 (2023).

       Defendants also argue—generically, and with no meaningful explanation—that the lack of

novelty in this case warrants reduction of the lodestar. Defendant having provided no specific

evidence in support of this characterization; Plaintiff has nothing to rebut. Plaintiff would also note

that this factor is already subsumed in the lodestar amount and cannot properly be considered with

respect to adjustments of the lodestar. Geoffrion v. Nationstar Mortg. LLC, No. 4:14-cv-350, 2016

U.S. Dist. LEXIS 62723, at *5 (E.D. Tex. May 12, 2016) (citing Heidtman v. Cty. of El Paso, 171

F.3d 1038, 1043 (5th Cir. 1999)); see also Blum v. Stenson, 465 U.S. 886, 898–900, 104 S. Ct.

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1541 (1984), Pierce v. Underwood, 487 U.S. 552, 573, 108 S. Ct. 2541, 2554 (1988) (“ ‘novelty

and difficulty of issues,’ ‘the undesirability of the case,’ the ‘work and ability of counsel,’ and ‘the

results obtained,’ . . . are factors applicable to a broad spectrum of litigation; they are little more

than routine reasons why market rates are what they are.”).

        As to Defendant’s argument regarding the contingency vs. traditional fee arrangement, the

Supreme Court has barred any use of that sixth Johnson factor. See Halupka v. Fed. Express Corp.,

No. 4:03-cv-350, 2006 U.S. Dist. LEXIS 115957, at *15 (E.D. Tex. June 22, 2006) (citing Walker

v. U.S. Dept. of Hous. and Urban Dev., 99 F.3d 761, 772 (5th Cir. 1996)).

        Finally, Defendant claims that because this case was not undesirable, that the lodestar must

be reduced. Again, Defendant provides no specific facts and not a single example of the lodestar

being adjusted downward because the case was not remarkably undesirable. This argument is silly

and nothing more can be said about it.

        In short, Defendant has made not even the barest showing of special circumstances that

would warrant deviating from the strong presumption that the lodestar is the reasonable fee. No

adjustment to the lodestar can be supported on this record.

4.      Plaintiff’s Counsel’s Billing Was Appropriate

        Plaintiff is ready to concede a small portion of the fees that Defendant describes as

improper, but simply to save the Court’s resources.

        Amended Complaint

        Plaintiff already reduced the section “04-Amended Complaint/Answer” by $858.00 by no

charging another entry. To simplify the Court’s effort, Plaintiff withdraws this request for

$234.00.




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       Depositions

       As to time spent in connection with depositions, Defendant’s arguments miss the mark.

Plaintiff’s billabless (Dkt. 44-7 through 44-8) demonstrate most of the effort in this category

($3,978) is related to Plaintiff’s deposition: On January 18, 2022, Mr. Herrington notes, “Review

client documents; deposition preparation meeting with client” and on January 19, 2022, the entry

reads, “Deposition of client; calls with CRB [Charles R. Bridgers] re deposition issues; meetings

with clients.” These entries are simple, clear, and directly related to one aspect of a day’s work.

The Court should disregard Defendant’s boilerplate claims that these entries are “block billing”.1

       While the entries for Mr. Bridgers under “Depositions” ($365.40) are appropriate for

planning and reference, Plaintiff withdraws them from the Motion because the amounts are too

small to justify the Court’s attention.

       Motions

       Defendant is correct that most of the entries under the “Motion” category are for the Fee

Petition and then downplay the motion as “routine.” First, undersigned counsel’s “routine” practice

in FLSA cases is to agree with the opposing party on the amount of fees, which Defendant and its

counsel refused to discuss in any meaningful way. Instead, Defendant forced Plaintiff to file this




   1
        As the Fifth Circuit has explained: “practical considerations of the daily practice of law in
this day and age preclude ‘writing a book’ to describe in excruciating detail the professional
services rendered for each hour or fraction of an hour.” League of United Latin American Citizens
No. 4552 (LULAC) v. Roscoe Ind. Sch. Dist., 119 F.3d 1228, 1233 (5th Cir. 1997) (quoting
Louisiana Power & Light Co. v. Kellstrom, 50 F.3d 319, 327 (5th Cir. 1995). Courts may examine
the reasonableness of billing entries based on “the number of hours spent on such tasks, the more
detailed entries surrounding them, and their dates of entry, which indicates the point in the
proceedings in which the particular services were rendered.” Olibas v. Native Oilfield Servs., LLC,
104 F. Supp. 3d 791, 811-12 (N.D. Tex. 2015). Plaintiff has no fear that the Court will immediately
recognize that her counsel’s efforts in this case were extremely efficient and that no unnecessary
billing occurred.

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Motion and Reply. Also, Defendant’s position that this was Motion is “routine” is belied by the

fact that it is opposing the Motion and billing entries on an almost line-by-line basis.

        Substantively, Defendant’s analysis of the Motion as only 6 pages ignores the actual effort

required. This Motion required substantial declarations from three attorneys and dozens of pages

of exhibits. Every line of these sworn statements and billing records had to be scrutinized. The

time actually incurred was in excess of the estimates. This reply brief alone has taken more than 7

hours of attorney time, far in excess of Plaintiff’s initial request.2 No reduction is appropriate.

        Legal Research, Miscellaneous Case Efforts, and Factual Development

        Initial decisions—including where to bring a case and what theories to use—are important

strategic decisions that can impact the entire course of the litigation. Plaintiff’s overtime claim was

successful because of these decisions. Reasoned consideration and conversation among counsel is,

therefore, necessary and appropriately billed. Similarly, supervisory direction to other staff

members serves the purpose dividing work appropriately so that the least expensive staff member

capable of doing a task actually does so. The most senior attorney on the case naturally provided

supervision to ensure that that more junior attorney’s decisions were sound. That is the heart of

efficient delegation of legal duties. Defendant’s generalized and unspecific objections criticizing

these efforts necessarily fail. Again, though, Plaintiff is not seeking to force this court into a nickel-

and-dime analysis. Plaintiff will withdraw the following time entries (8/3/2021 for $43.50;

9/29/201 for $43.50; and 7/22/2022 for $43.40), for just to avoid wasting the Court’s time.

        Legal Research, Miscellaneous Case Efforts, and Factual Development




    2
        Undersigned counsel Bridgers and Herrington state this sentence “in their place” as if under
oath.

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       Defendant’s complaints regarding legal research relate to time spent on what it calls

“abandoned legal theories.” It points to a small amount of time spent researching the “necessity of

pleading affirmative defenses and standard for more definite statement motion” and concludes that

this research was unnecessary because no such motion was filed. This argument is nonsense. The

question at hand is whether the effort was reasonably undertaken. As Judge Ho explained in his

concurrence in Gurule v. Land Guardian, Inc.,

       To be sure, not every attorney task will ultimately pay off for the client, even
       amongst the most conscientious of counsel. A legal theory might seem genuinely
       promising at the outset, but ultimately bear no fruit. Attorney time may be
       reasonably spent, even if it does not actually result in client value.

912 F.3d 252, 262 (5th Cir. 2018). Here, Plaintiff’s counsel—in their professional judgment—

undertook a small amount of legal research to examine whether more explicit pleadings could be

demanded from the Defendant. Plaintiff’s counsel ultimately decided not to do so, but Defendant

has made no showing that such minor investigations into the issue were unreasonable.

       Defendant also complains that Plaintiff went to great lengths to obtain document

production from it—unwillingly—and then didn’t even use any of those documents at summary

judgment. Defense counsel can perhaps be forgiven for forgetting that litigation does not end at

summary judgment. This case very well could have proceeded to trial. Here, Plaintiff obtained

voluminous emails that evidenced the day-to-day work of Plaintiff to protect against later

mischaracterizations by Defendant of her job duties.3 As necessary as it was to obtain these



   3
          Such fears are well-founded given the history of this Defendant and this defense counsel’s
history of dishonesty before the court. See Greene v. Tyler Techs., 526 F. Supp. 3d 1325, 1331 n.5
(“it is exasperating that Tyler advances this argument when, throughout its briefing, it
misrepresents and stretches Plaintiff’s testimony. . . . To characterize this as ‘undisputed evidence’
. . . is disingenuous. Similarly, Defendant mischaracterizes Plaintiff’s brief . . . . The Court has
discovered other examples of this stretching of the actual testimony, as well. These slanted and
inaccurate representations are not appreciated. The Court expects better.”).

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documents, they were not necessary to defend against a motion for summary judgment. This is

because Plaintiff Harrison could very easily show the court a dispute of material fact through a

simple declaration, which she did. Thus, given the relevant burden, there was no reason to scour

or present thousands of emails. In fact, spending dozens of hours organizing and quantifying those

emails would have been nothing short of the “churning” that Gurule warns against. Counsel did

not undertake unnecessary efforts at any stage of this litigation. But that does not decrease the

value of getting the document production that Plaintiff fought so long and so hard to obtain.

       As to several of the smaller entries of “unproductive” time that Plaintiff’s counsel allegedly

spent, Plaintiff cannot tell which ones are opposed. All identifiable entries are appropriate:

       •       The Bridgers entry for $69.60 on 4/12/2022 relates to a discussion about discovery.
               The Bridgers entry for $93.50 on 3/3/2022 is a conversation on the strategy for
               opposing Defendant’s summary judgement Motion. For the reasons stated above,
               such strategic consultation is not only appropriate, but it is critical to a successful
               case outcome.

       •       As to Mr. Herrington’s entries, the 2/24/2022 entry ($109.20) relates to an 18-
               minute discussion with co-counsel on a protective order. This Protective Order,
               brought to the Court on a joint motion, was eventually entered in this case. (Dkt.
               21) Defendants have raised no substantive reason that this order was wasteful or
               unnecessary.

       •       As to the entries for $1,053 on August 25, 2022, and for $507.00 on August 29,
               2022, Defendant apparently criticizes Mr. Herrington’s review of documents
               produced in the litigation. Not reviewing evidence would have been foolish on
               counsel’s part. Charging for doing so is, therefore, appropriate.

       Plaintiff will, however, withdraw the $17.00 entry for J. Sorrenti, paralegal, from April

25, 2022, to simplify the Court’s analysis.

5.     Conclusion

       Based on the foregoing, Plaintiff requests that the Court issue a final judgment in her favor

including $25,806.70 in attorney’s fees (i.e., $26,553.50 less $746.80 ($234.00 + 365.40 + $43.50

+ $43.50 + $43.40 + $17.00) and $1,271.00 in costs.

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Respectfully submitted this 24th day of April 2023,



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                                CERTIFICATE OF SERVICE

     On April 24, 2023, I filed the foregoing document with the Clerk of Court using the
CM/ECF system of the Court. I certify that all counsel of record were served electronically thereby.

                                                      s/Melinda Arbuckle
                                                      Melinda Arbuckle




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